   Case: 4:19-cv-01185-JCH Doc. #: 1 Filed: 05/03/19 Page: 1 of 5 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

ASHLEY DRACKERT,                )
                                )
       Plaintiff,               )                 Case No.: 19-cv-1185
                                )
vs.                             )                 Circuit Court of the 11th Judicial
                                )                 Circuit, St. Charles County, Missouri
FORT ZUMWALT R-II               )                 Case No. 1911-CC00341
SCHOOL DISTRICT,                )
                                )
BOARD OF EDUCATION OF           )                 JURY TRIAL DEMANDED
FORT ZUMWALT SCHOOL DISTRICT, )
COUNTY OF ST. CHARLES, STATE    )
OF MISSOURI,                    )
                                )
MIKE SWARINGIM, Board President )
                                )
MIKE MACCORMACK, Board Vice     )
President,                      )
                                )
SCOTT GRASSER, Board Member,    )
                                )
JOHN CALLAHAN, Board Member,    )
                                )
CRAIG MOORE, Board Member,      )
                                )
ERICA POWERS, Board Member,     )
                                )
TOMMY GEORGE, JR., Board Member )
                                )
       Defendants.              )

                                 NOTICE OF REMOVAL

       COME NOW Defendants Fort Zumwalt R-II School District; Board of Education of Fort

Zumwalt School District, County of St. Charles, State of Missouri; Mike Swaringim; Mike

MacCormack; Scott Grasser; John Callahan; Craig Moore; Erica Powers; and Tommy George,

Jr. (“District Defendants”), by and through their attorneys, TUETH KEENEY COOPER MOHAN &

JACKSTADT, P.C, and pursuant to 28 U.S.C. §§ 1331, 1441 and 1446 hereby remove the above-

                                              1
    Case: 4:19-cv-01185-JCH Doc. #: 1 Filed: 05/03/19 Page: 2 of 5 PageID #: 2




captioned case from the 11th Judicial Circuit Court of St. Charles County, Missouri, to the United

States District Court for the Eastern District of Missouri. In support of this removal, District

Defendants state the following to the Court:

        1.      On April 2, 2019, Plaintiff Ashley Drackert, (“Plaintiff”) filed a Petition

(“Petition”) in the 11th Judicial Circuit Court of St. Charles County, Missouri; Case No. 1911-

CC00341.

        2.      District Defendants have not yet been served with a copy of the Petition, but

Plaintiff’s attorney sent undersigned counsel a copy of the Petition via electronic mail on

April 15, 2019.

        3.      On April 16, 2019, undersigned counsel informed Plaintiff’s attorney they will

accept service on behalf of the Defendants, however, to date no service attempts have been

made. Defendants’ counsel did acknowledge receipt of Plaintiff’s Petition in their response to

Plaintiff’s attorney via electronic mail on April 16, 2019.

        4.      This Notice of Removal is timely under 28 U.S.C. § 1446(b) as this Notice is

being filed “within 30 days after receipt by defendant, through service or otherwise, of a copy of

the initial pleading setting forth the claim for relief.”

        5.        Pursuant to 28 U.S.C. § 1446(a), attached to this Notice of Removal is a copy of

the original Petition filed in the 11th Judicial Circuit Court of St. Charles County, Missouri. The

Petition is attached hereto as Exhibit A.

        6.      District Defendants have not filed an Answer or otherwise responded to Plaintiff’s

Petition in the 11th Judicial Circuit Court of St. Charles County, Missouri.

        7.      Pursuant to 28 U.S.C. § 1331, and as explained further below, this Court has

original jurisdiction over the instant action based on Plaintiff’s claims arising under the Title I of



                                                    2
    Case: 4:19-cv-01185-JCH Doc. #: 1 Filed: 05/03/19 Page: 3 of 5 PageID #: 3




the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12101, et seq.; the Family

and Medical Leave Act, 29 U.S.C. §§ 2615 & 2617 (“FMLA”); and 42 U.S.C. § 1983. See

Petition, ¶ 1.

        8.       The Court has supplemental jurisdiction over Plaintiff’s remaining claims deemed

to arise under the laws of the state of Missouri pursuant to 28 U.S.C. § 1367(a).

        9.       Venue of this removal is proper under 28 U.S.C. § 1441(a) because this Court is

the United States District Court for the district and division corresponding to the place where the

state court action was pending.

        10.      This action is not an action described in 28 U.S.C. § 1445(a) through (d).

        11.      Pursuant to 28 U.S.C. § 1446(d), a true and accurate copy of this Notice of

Removal will be filed with the Clerk of the 11th Judicial Circuit Court, St. Charles County,

Missouri, as Notice to Clerk of Filing Removal, attached hereto as Exhibit B.

        12.      Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal has been served upon Plaintiff, through Plaintiff’s counsel, Kevin J. Kasper and Ryan

P. Schellert, as Notice to Plaintiff of Removal.

        13.      District Defendants, by this Notice, has satisfied all jurisdictional requirements for

the removal of this action from the 11th Judicial Circuit Court of St. Charles County, Missouri, to

the United States District Court for the Eastern District of Missouri.

        14.      Also filed with this Notice of Removal is the Civil Cover Sheet and the Original

Filing Form.

        WHEREFORE, District Defendants hereby give notice that the above-captioned action is

hereby removed to the United States District Court for the Eastern District of Missouri, for the

reasons set forth above.



                                                   3
Case: 4:19-cv-01185-JCH Doc. #: 1 Filed: 05/03/19 Page: 4 of 5 PageID #: 4




                                   RESPECTFULLY SUBMITTED,

                                        TUETH KEENEY COOPER
                                        MOHAN & JACKSTADT, P.C.

                                        By: /s/ Celynda L. Brasher
                                        Celynda L. Brasher #38243MO
                                        Kylie S. Piatt, #64163MO
                                        34 N. Meramec, Suite 600
                                        St. Louis, Missouri 63105
                                        Telephone: (314) 880-3600
                                        Facsimile: (314) 880-3601
                                        Email: cbrasher@tuethkeeney.com
                                                kpiatt@tuethkeeney.com

                                        ATTORNEYS FOR DEFENDANTS
                                        FORT ZUMWALT R-II SCHOOL DISTRICT,
                                        BOARD OF EDUCATION OF FORT ZUMWALT R-II
                                        SCHOOL DISTRICT, MIKE SWARINGIM, MIKE
                                        MACCORMACK, SCOTT GRASSER, JOHN
                                        CALLAHAN, CRAIG MOORE, ERICA POWERS,
                                        AND TOMMY GEORGE, JR.




                                    4
    Case: 4:19-cv-01185-JCH Doc. #: 1 Filed: 05/03/19 Page: 5 of 5 PageID #: 5




                                CERTIFICATE OF SERVICE

   The undersigned hereby certifies that a true and correct copy of the foregoing was sent via

the Court’s electronic filing system and via electronic mail on this 3rd day of May, 2019, upon

the following:

KASPER LAW FIRM
Kevin J. Kasper
Ryan P. Schellert
3930 Old Hwy 94 South – Suite 108
St. Charles, Missouri 63304
Ph. (636) 922-7100
Fax: (866) 303-2874
KevinKasper@KasperLawFirm.net
RyanSchellert@KaspwerLawFirm.net

Attorneys for Plaintiff


                                                      /s/ Celynda L. Brasher




                                                5
